Case No. 1:22-cv-01640-CNS-MDB Document 13 filed 12/28/22 USDC Colorado pg 1of2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

DENVER DIVISION FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

DEC 28 2022
JEFFREY P. COLWELL
DANIEL P. RICHARDS CLERK
a resident of the State of Washington
Civil Action No.
Plaintiff/Pro Se
v. 1:22-cv-01640-CNS-MDB

LOCKHEED MARTIN CORPORATION
D/B/A LOCKHEED MARTIN SPACE,

a corporation headquartered in and organized
under the laws of the State of Maryland

Defendant

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PLAINTIFF DANIEL RICHARD’S MOTION
TO ACCEPT FILING BY PAPER HARD COPY VERSION

Comes now the Plaintiff, Daniel P. Richards, Pro Se, and requests the Court and the Clerk of
the Court to accept the Plaintiff’s filing pro se of these pleadings by hard copy, paper version in lieu
of electronic filing. When my counsel completes admission pro hac vice with the assistance of local
Colorado counsel, the attorneys will proceed to file later pleadings by electronic filing.

Dated: December 27, 2022

/s/ Daniel P. Richards
Daniel P. Richards
Plaintiff / Pro Se
3 Olive Drive, Apartment 2
Cathlamet, Washington 98612

(Wahkiakum County)
Telephone: (360) 431-0240
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